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                                            Certificate Number: 14912-NYS-DE-031632504
                                            Bankruptcy Case Number: 18-11852


                                                           14912-NYS-DE-031632504




               CERTIFICATE OF DEBTOR EDUCATION

I CERTIFY that on September 18, 2018, at 11:51 o'clock AM EDT, Panos Seretis
completed a course on personal financial management given by internet by 001
Debtoredu LLC, a provider approved pursuant to 11 U.S.C. § 111 to provide an
instructional course concerning personal financial management in the Southern
District of New York.




Date:   September 18, 2018                  By:      /s/Jai Bhatt


                                            Name: Jai Bhatt


                                            Title:   Counselor
